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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION                                            LUll: 26


JOSPEH OZMUN,
                       Plaintiff,
-vs-                                                              CAUSE NO.:
                                                                AU-16-CV-00940-SS
PORTFOLIO RECOVERY ASSOCIATES,
LLC; RAUSCH, STURM, ISRAEL,
ENERSON & HORNIK, LLC; WESTERN
SURETY COMPANY; and TRAVELERS
CASUALTY AND SURETY COMPANY
OF AMERICA,
                Defendants.


                                    FINAL JUDGMENT

       BE IT REMEMBERED on this day the Court entered its opinion and orders in the above-

styled cause granting Defendants Portfolio Recovery Associates, LLC and Rausch, Sturm, Israel,

Enerson & Hornik, LLC' s Motion for Attorneys' Fees [#1511, and in accordance thereof enters

the following:

                 IT IS ORDERED, ADJUDGED and DECREED that Defendant Portfolio Recovery

       Associates, LLC and its lawyers do have and recover judgment of and against Celetha

       Chatman, Michael Wood, and Community Lawyers Group, Ltd. in the amount of

       EIGHTY-FOUR THOUSAND, SEVEN HUNDRED THIRTY-TWO AND 83/100

       DOLLARS ($84,732.83) as attorneys' fees and costs pursuant to 15 U.S.C.   §   1692k(a)(3)

       with interest at 2.40% per annum, for which let execution issue.

                 IT IS FINALLY ORDRED, ADJUDGED, and DECREED that Defendant Rausch,

       Sturm, Israel, Enerson & Hornik, LLC and its lawyers do have and recover judgment of

       and against Celetha Chatman, Michael Wood, and Community Lawyers Group, Ltd. in the

       amount of SEVENTY-EIGHT THOUSAND EIGHT HUNDRED NINETY-FOUR AND
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99/100 DOLLARS ($78,894.99) as attorneys' fees and costs pursuant to 15 U.S.C.

 1   692k(a)(3) with interest at 2.40% per annuum, for which let execution issue.

         SIGNED this the      q   day of March, 2019.




                                          SAM''                       '''
                                          SENIOR UNITED STATES DISTRICT JUDGE
